         Case 1:24-cv-04743-EK-TAM Document 3 Filed 07/09/24 Page 1 of 1 PageID #: 67

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                  Eastern District
                                                __________         of of
                                                            District  New  York
                                                                         __________

                RUSSIANFOOD.COM LLC,                             )
                                                                 )
                                                                 )
                                                                 )
                            Plaintiff(s)                         )
                                                                 )
                                v.                                      Civil Action No. 24-cv-04743-EK-TAM
                                                                 )
 MICHAEL MAYMAN, SI POWER, LLC, NEWFOLD                          )
  DIGITAL, INC., WEB.COM GROUP, INC., AND
                                                                 )
         NETWORK SOLUTIONS, LLC.
                                                                 )
                                                                 )
                           Defendant(s)                          )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Michael Mayman 300 Winston Drive, Apt 2921 Cliffside Park New Jersey 07010
                                       SI Power, LLC 300 Winston Drive, Apt 2921 Cliffside Park New Jersey 07010
                                       Newfold Digital, Inc. 5335 Gate Parkway Jacksonville Florida 32256
                                       Web.com Group, Inc. 5335 Gate Parkway Jacksonville Florida 32256
                                       Network Solutions, LLC 12808 Gran Bay Parkway West Jacksonville Florida 32258




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       SINAYSKAYA YUNIVER P.C.
                                       710 Avenue U
                                       BROOKLYN, NY 11223
                                       STEVEN@SYPCL.COM
                                       718-402-2240


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                          BRENNA B. MAHONEY
                                                                          CLERK OF COURT

                                                                            s/Kimberly Davis
Date:   07/9/2024
                                                                                      Signature of Clerk or Deputy Clerk
